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                      UNITED STATED DISTRICT COURT FILED
                                           for the
                                 District of South Dakota                      FEB 2 U t




  Joseph D.Tedrow

                 Plaintiff                                     Civil Action No J ^~ ^              ^
         vs



   N'ationmde Credit Inc.
                  Defendant




              TO THE HONORABLE UNITED STATES DISTRICT JUDGE:


                                NATURE OF THE ACTION


1. This is an action for damages brought b>'an mdmdtial plaintifffor Defendant's \iolation of
   the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,et seq.(hereinafter "FDCPA").

2. Plaintiff seeks to recover monetarv* damages for Defendant's violations of die FDCPA


                                       JLTUSDICTION


3. This court hais jurisdictitm under 15 U.S.C. § 1692k(d), 28 U.S.C § 1331.
                                           PARTIES


4. The Plaintiff in this lawsuit is Joseph D. Tedrow ("Plaintiff), a natural person, who resides

   in Lincoln count>'. South Dakota.

5. Plaintiff is a consumer as defined b\- the FDCTPA, 15 U.S.C. § 1692a(3)-
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6.        Defendant, Nationwide Credit Inc.("Defendant")is an entit>' wdio at all relevant

     times was engaged, by the use ofthe mails and telephone, in the business of attempting to

     collect a "debt" from Plaintiff, as defined by 15 U.S.C. § 1692a(5).

7. Defendant is a "debt collector" as defined by 15 U.S.C. § 1692a(6)and by Tex. Fin. Code

     Ann. § 392.001(2).

                                               m:nue


8. The occurrences which give rise to this action occurred in Lincoln Count>', South Dakota and

     Plaintiff resides in Lincoln Cormt>'.

9. Venue is proper in the District of South Dakota under 28 U.S.C. §1391(b)
                                    FACTUAL ALLEGATIONS


10. Plaintiff received a collection notice from the Defendant dated September 5, 2017 stating

     that a charge card account # XXXXXXXXXXX2749 had been referred to Nationwide

     Credit, Inc. from Chase Bank USA,NA. and they were attempting to collect an alleged

     balance due on said account of$12502.62.

11. Plaintiff sent a timely response within 30 days to Defendant on September 28,2018

      disputing the alleged debt and demanding Defendant ceaise and desist from anj'further

      collection activities until they validated the alleged debt. At no time did Plaintiff receive a

      response to his demand for validation.

12. The validation of debt and dispute ofinformation demands were received by the Defendant

      on September 30, 2018 according to USPS records and Defendant failed to respond to

      plaintiff with any information at any time.

13. On or about October 9, 2017 Plaintiffreceived a second collection notice dated October 4,

      2017 for the same account as the previous notice dated September 5,2017 offering a
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    settlement amoimt of$5626.17 on the account. Receipt ofa collection notice when no

    validation of the alleged debt had ever been received b>' the Plamtiff is a violation of 15

    U.S.C. § 1692g(B) and is a deceptive practice.

14. On or about October 27, 2017 Plaintiff received a third collection notice dated October, 23,

    2017 for the same account as the original notice dated September 5, 2017 offering a

    settlement amount of $4375.91 on the account. Receipt of a collection notice when no

    validation ofthe alleged debt had ever been received b>' the Plaintiff is a violation of 15

    U.S.C 1692g(B), and is a deceptive practice.

/S", On or about November, 14, 2017 Plaintiff received a fourth collection notice dated

    November 11, 2017 for the same account as the origmal notice dated September 5, 2017

    offering a settlement amoimt of $3250.68 on the account. Receipt of a collection notice

    when no validation of the alleged debt had ever been received by the Plaintiflf is a violation

    of 15 U.S.C. 1692g(B)and is a deceptive practice.

Jfc. On or about November 30, 2017 Plaintiff received a fifth collection notice dated November

    27,2017 for the same account as the original notice dated September 5, 2017 offermg a

    settlement amount of$3250.68 on the account. Receipt ofa collection notice when no

    validation of the alleged debt had ever been received by the Plaintiff is a violation of 15

    U.S.C. 1692g(B)and is a deceptive practice.

/7. On or about December 16, 2017 Plaintiflf recei\ ed a sixth collection notice dated December

    13, 2017 for the same account as the original notice dated September 5, 2017 offermg a

    settlement amount of$3250.68 on the account Receipt of a collection notice when no

    validation of the alleged debt had ever been received by the Plaintiff is a violation of 15

    U.S.C. 1692g(B)and is a deceptive practice.
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IS. All violations complained of herein occurred within tlie statute of limitations of

     the applicable federal statutes.



                                         COUNT1




                          VIOLATIONS OF THE FDCPA




1^, Plaintiff repeats and re-alleges each and every allegation stated above.

7.0, Defendant's aforementioned conduct violated the FDCPA.

     WHEREFORE, Plamtifif prays for relief and judgment as follows:

             a. Adjudging that Defendant violated the FDCPA.

             b. Awarding Plaintiff statutoiy damages, pursuant to 15 U.S.C. 1692k, in the

                amount of SI000.00.


             c. Awarding Plaintiff any attorne\''s fees and costs incurred in the action.

             d. Awarding Plamtiff any pre-judgment and post-judgment mterest as may be

                allowed under the law.


             e. Awarding such other and further relief as the Court may deem just and proper
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                           DEMAND FOR TRIAL BY JURY

Plaintiff hereby demands a trial by jur>' ofall issues so triable as a matter of law.


                                                        Dated: February 5,0,2018

                                                        Respectfully Submitted,

                                                        —hu

                                                        Joseph D. Tedrow
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                             CERTDICATE OF SERMCE


The tme and correct copy ofthe foregoing document was 5«it to the below named
parties b>* first class USPS mail.

                                          Signed February 20, 2018


                                                      iV V
                                          Joseph Dl Tedrow




Nationwide Credit Inc.
(Registered Agent)
Corporation Serv ices Company
505 5thAve. Ste 729
Dcs Moines.lA 50309
